                             UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF OREGON



In re                                              )                 18-33806-TMB13
                                                         Case No. _____________________
 James L. Feyler                                   )
                                                   )     FEE AND EXPENSE ITEMIZATION
                                                   )     THROUGH ___________________;
                                                                       12/13/18
                                                   )     REQUEST FOR APPROVAL OF
                                                   )     ATTORNEY FEES
Debtor(s)                                          )


For Schedule 2 attorney fees, if the estimated fee exceeds $3,450, debtor’s counsel must complete the
below certification and attach an itemized statement showing the time and hourly rate applied to each
service rendered. The itemization must be filed with the court not less than 1 week before the final
confirmation hearing and should include all services and fees incurred through a date no earlier than 2
weeks before the confirmation hearing, even if that amount exceeds the amount sought for approval at
confirmation.

I, the undersigned debtor’s attorney, whose address and phone number are _____________________
 Mertens Law, LLC; 4411 NE Tillamook St, Portland, OR 97213; 503.836.7673
________________________________________________________________________________,
                                                                                     10596.00
certify that, through the date stated above, I have incurred attorney fees of $ ______________   and
expenses of $ ____________,
                      0.00       of which $ _____________
                                                 500.00      has been paid, leaving $ ____________
                                                                                          10096.00
unpaid. I have contemporaneous time and expense records and have attached an itemization of my
fees and expenses hereto. Consistent with the estimated attorney fees listed on the chapter 13 plan, I
am requesting approval of compensation to debtor’s counsel in the above amounts covering the period
      through confirmation               12/13/18
                                through _____________    to be paid pursuant to the plan.




                                               /s/ Chris Mertens                092230
                                               ___________________________________________
                                               Signature [Debtor(s) Attorney]  OSB #




1306 (12/1/2017)                                            [Note: Printed text may not be stricken]

                          Case 18-33806-tmb13          Doc 22   Filed 12/13/18
Attorney & Manager
Chris Mertens
                                            MERTENS LAW                                                                     Mailing Address
                                                                                                                           Hollywood Office
Admitted in Oregon                               A Consumer & Small Business law firm.                               4411 NE Tillamook Street
Admitted in Washington
Admitted in California                                                                                                    Portland, OR 97213
                                                         Chris@MertensCSBLaw.com
Direct: 503.836.7673                                     www.MertensCSBLaw.com                                               Fax: 503.213.6000




                                                             BILLING STATEMENT

James L. Feyler                                                                                                          December 13, 2018
3115 SW 197th Ave                                                                                                          Client No. 17018
Aloha, OR 97003-2301                                                                                                    Invoice No. 17018-1

Matter: 18-33806-TMB13




                                                                                                         Billable Time
 Date                    Attorney                                Description                                (hours)    Hourly Rate     Charge
 08/31/17                 C.M.      Reviewed intake notes in preparation for client update phone              1.00       $360.00       $360.00
                                    call (.2). Phone call with client regarding status and changes in
                                    circumstances to discuss options and strategy going forward
                                    (.45). Notes to file re: status and strategy and necessary follow-
                                    up (.35).
 10/17/17                 C.M.      Reviewed notes and file regarding client question regarding              0.35        $360.00       $126.00
                                    asset issues. Researched issue. Note to file re: status
                                    and necessary follow-up.
 12/12/17                 C.M.      Reviewed correspondence from client regarding financial                  0.75        $360.00       $270.00
                                    status and creditor correspondence (.15). Reviewed
                                    creditor correspondence for potential issues and impact
                                    on filing strategy (.45). Notes to file re: same and
                                    necessary follow-up (.15).
 12/12/17                 C.M.      Reviewed updated income information provided by client                   0.55        $360.00       $198.00
                                    (.2). Drafted correspondence to client with follow-up
                                    questions for clarification of status and strategy going
                                    forward (.35).
 12/14/17                 C.M.      Reviewed correspondence from client regarding updated                    0.30        $360.00       $108.00
                                    information on income and expenses. Notes to file re: status
                                    and necessary follow-up.
 1/16/18                  C.M.      Reviewed file and notes (.15). Reviewed correspondence from              0.75        $360.00       $270.00
                                    creditor and made notes to file (.15). Drafted correspondence to
                                    client with creditor information and requesting update on
                                    status of items for additional strategy review (.45).
 1/17/18                  C.M.      Reviewed file; reviewed updated information from client re:              0.40        $360.00       $144.00
                                    status and strategy going forward. Notes to file re: same and
                                    timeline for follow-up.
 3/7/2018                 C.M.      Reviewed file; reviewed correspondence from client regarding             0.50        $360.00       $180.00
                                    creditor communication. Reviewed notes. Drafted
                                    correspondence to client regarding status and requesting
                                    clarification of income and assets. Reviewed response. Notes
                                    to file re: status and timeline for proceeding.



 ©2017 Mertens Law, LLC                                                                                              Billing Statement – Page 1 of 4
                                     Case 18-33806-tmb13                     Doc 22         Filed 12/13/18
03/21/18                 C.M.   Reviewed file and notes; Reviewed correspondence from client        0.30        $360.00       $108.00
                                regarding status and possible changes in circumstances.
                                Drafted follow-up correspondence to client.
03/22/18                 C.M.   Reviewed notes and update correspondence from client.               0.35        $360.00       $126.00
                                Drafted correspondence to client addressing questions and
                                timeline for proceeding. Note to file re: same and necessary
                                follow-up.
03/23/18                 C.M.   Reviewed updated information from client regarding changes          0.60        $360.00       $216.00
                                to income and assets (.2). Drafted correspondence with options
                                for client proceeding with alternative strategies (.3). Notes to
                                file re: same and necessary follow-up (.1).
08/07/18                 C.M.   Reviewed correspondence from client with update regarding           0.40        $380.00       $152.00
                                changes to financial situation; drafted correspondence with
                                follow-up questions for updated strategy. Notes to file re: same
                                and necessary follow-up.
08/09/18                 C.M.   Reviewed updated information about employment and past              0.35        $380.00       $133.00
                                self-employment income from client. Drafted follow-up
                                correspondence to client requesting information for further
                                review and preparation for filing.
08/24/18                 C.M.   Reviewed information provided by client in preparation for          1.00        $380.00       $380.00
                                updated strategy and moving forward (.65). Notes to file re:
                                same and additional clarification needed (.2). Drafted
                                correspondence to client re: same (.15).
09/26/18                 C.M.   Reviewed file and notes; reviewed updated income information        0.95        $380.00       $361.00
                                and preliminary means test calculations (.85). Note to file re:
                                same (.1).
10/06/18                 C.M.   Reviewed file and notes (.2). Drafted detailed correspondence       0.90        $380.00       $342.00
                                to client regarding additional information and documentation
                                needed and timeline for the same (.5). Notes to file re: same and
                                necessary follow-up (.2).
10/09/18                 C.M.   Reviewed correspondence from client regarding                       0.30        $380.00       $114.00
                                information requested. Reviewed file and notes; responded
                                with clarification and follow-up. Note to file re: same.
10/19/18                 C.M.   Reviewed correspondence from client regarding past                  0.25        $380.00       $95.00
                                business income. Reviewed file and notes; responded with
                                clarification. Note to file re: same.
10/23/18                 C.M.   Reviewed file and notes for status for filing preparation and       0.60        $380.00       $228.00
                                plan drafting (.4). Exchanged correspondence with client
                                regarding requirements for filing and timing of same (.2)
10/24/18                 C.M.   Reviewed correspondence regarding credit counseling and             0.15        $380.00       $57.00
                                certificate. Confirmed completion, note to file re: same.
10/29/18                 C.M.   Reviewed documentation provided by client for review for            0.35        $380.00       $133.00
                                emergency filing. Drafted correspondence to client confirming
                                status for emergency filing. Note to file re: same and necessary
                                follow-up.
10/30/18                 C.M.   Exchanged correspondence with client regarding emergency            0.25        $380.00       $95.00
                                filing and timeline for review and signature of emergency
                                documentation. Note to file re: same.
10/30/18                 C.M.   Reviewed creditor information, credit reports for non-filing        2.45        $380.00       $931.00
                                spouse and status and lack of possible joint obligations (.6).
                                Drafted emergency documentation including creditor matrix
                                petition, and disclosures for client review and signature (1.7).
                                Notes to file for client review and signature (.15).
10/31/18                 C.M.   Reviewed documents with client for changes, made changes to         1.00        $380.00       $380.00
                                emergency documentation, reviewed with client timeline going
                                forward and information needed to complete plan and
                                deficiency documentation (.85). Notes to file re: same and
                                timeline for follow-up (.15).




©2017 Mertens Law, LLC                                                                                     Billing Statement – Page 2 of 4
                                 Case 18-33806-tmb13                    Doc 22         Filed 12/13/18
10/31/18                 C.M.   Completed emergency petition and disclosures for emergency             0.85        $380.00      $323.00
                                filing; filed same (.5). Drafted correspondence to client re: filing
                                and next steps for deficiency documents (.35).
11/06/18                 C.M.   Reviewed car secured claim POC; exchanged correspondence               0.35        $380.00      $133.00
                                with client regarding status of post-filing payments and claim
                                treatment in plan. Notes to file re: same.
11/7/2018                C.M.   Reviewed ODR POC, notes to file re: same.                              0.15        $380.00       $57.00
11/14/18                 C.M.   Exchanged correspondence with client regarding mortgage                0.25        $380.00       $95.00
                                payment status and next steps regarding mortgage payment.
                                Note to file re: same and necessary follow-up.
11/14/18                 C.M.   Drafted motion to extend time to file deficiency documents;            0.50        $380.00      $190.00
                                noticed and filed same. Notes to file re: status and follow-up.
11/14/18                 C.M.   Reviewed order extending time; correspondence to client re:            0.30        $380.00      $114.00
                                status of same and deadline for final review of plan, deficiency
                                documents, and 341 documents for trustee.
11/18/18                 C.M.   Reviewed file and notes (.2).Researched home and vehicle               3.15        $380.00     $1,197.00
                                valuations and completed schedules to accurately reflect
                                valuations (.75). Calculated and compared exemption options,
                                completed schedules to accurately reflect election (.65).
                                Reviewed sources of income, calculated and confirmed
                                monthly income and completed schedules to accurately reflect
                                income and expenses (.85). Calculated means test and
                                completed same (.5). Notes to file re: same and additional
                                information needed (.2).
11/18/18                 C.M.   Calculated plan options for client based on income and                 2.30        $380.00      $874.00
                                expenses and secured claim treatment, made notes for review
                                with client re: options and strategies for plans.
11/19/18                 C.M.   Reviewed file and notes; met with clients to review and update         1.70        $380.00      $646.00
                                bankruptcy schedules and filings to reflect clarifications and
                                information provided (.8). Reviewed disclosures and notices
                                with clients and signed same (.4). Reviewed final schedules,
                                statement of financial affairs, means test, and plan with clients
                                and signed same (.3). Notes to file re: status and strategy going
                                forward (.2).
11/21/18                 C.M.   Reviewed file and notes; Reviewed client documentation for             0.50        $380.00      $190.00
                                trustee review for 341 hearing. Drafted correspondence
                                accompanying documentation for trustee review. Note to file
                                re: same.
11/26/18                 C.M.   Reviewed correspondence from client regarding upcoming 341             0.35        $380.00      $133.00
                                hearing and documentation required for same. Confirmed with
                                client status of documentation and provided instructions
                                regarding details of upcoming hearing and substance of same.
11/27/18                 C.M.   Reviewed file in preparation for 341 hearing (.35). Met with           1.95        $380.00      $741.00
                                client to prepare for 341 hearing (.5). Attended 341 hearing
                                (.75). Met with client to discuss status of case and steps for
                                confirmation (.2). Note to file re: timeline going forward for
                                confirmation (.15).

11/29/18                 C.M.   Reviewed file, notes, and trustee objection to confirmation.           0.45        $380.00       $171.00
                                Drafted amended schedules for client review and signature.
                                Notes to file re: same and necessary next steps.
12/13/18                 C.M.   Reviewed file and docket for objections to confirmation.               0.50        $380.00       $190.00
                                Drafted OCP and correspondence to trustee re: same.
12/13/18                 C.M.   Reviewed fee itemization and notice of same for filing with            1.00        $35.00        $35.00
                                court.




©2017 Mertens Law, LLC                                                                                        Billing Statement – Page 3 of 4
                                 Case 18-33806-tmb13                      Doc 22          Filed 12/13/18
                            Time            RATE     SUB-TOTALS
   TOTALS                    5.85          $360.00   $2,106.00
                            22.25          $380.00   $8,455.00
                              1.0                    $35.00
   TOTAL:                   29.10                    $10,596.00

                         Invoiced Time               $10,596.00

   Time                                              $10,596.00
   Costs
   - Mailing                                         $0.00
   - Copies                                          $0.00
   - Fees                                            $0.00

                         Total Fees & Costs:         $10,596.00




©2017 Mertens Law, LLC                                                                 Billing Statement – Page 4 of 4
                                 Case 18-33806-tmb13         Doc 22   Filed 12/13/18
